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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 _______________________________
 NICOLE MOULTON                  )
                                 )                     Case Number
             Plaintiff           )
                                 )
             vs.                 )                    CIVIL COMPLAINT
                                 )
                                 )
                                 )                     JURY TRIAL DEMANDED
 NORTHSTAR LOCATION             )
 SERVICES, LLC                   )
             Defendant           )
 _______________________________)


                          COMPLAINT AND JURY DEMAND

           COMES NOW, Plaintiff, Nicole Moulton, by and through her undersigned

 counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire of Warren & Vullings,

 LLP, complaining of Defendant, and respectfully avers as follows:



                          I. INTRODUCTORY STATEMENT

           1.    Plaintiff, Nicole Moulton, is an adult natural person and brings this action

 for actual and statutory damages and other relief against Defendant for violations of the

 Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits

 debt collectors from engaging in abusive, deceptive and unfair practices.



                                   II. JURISDICTION

           2.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

 § 1337.
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         3.     Venue in this District is proper in that the Plaintiff resides in this District

 and the Defendant transacts business in this District and maintains a registered office

 here.

                                       III. PARTIES

         4.     Plaintiff, Nicole Moulton, is an adult natural person residing at 1 Franklin

 Blvd., Somerset, New Jersey 08873.

         5.     Defendant, Northstar Location Services, LLC (“Defendant”), at all times

 relevant hereto, is and was a Limited Liability Company engaged in the business of

 collecting debt within the State of New Jersey with a registered office located at 820 Bear

 Tavern Road, Ewing, NJ 08628 and a principal office at 4285 Genesee Street,

 Cheektowaga, NY 14225.

         6.     Defendant is engaged in the collection of debts from consumers using the

 telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

 due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

 §1692a(6).

                            IV. FACTUAL ALLEGATIONS

         7.     On or around August 12, 2009, Plaintiff received a telephone call from

 Defendant’s agent while she was at work. Defendant asked for “Nicole” but did not

 specify a last name. Plaintiff’s call was taken by a co-worker who is also named

 “Nicole”.

         8.     Defendant’s agent who did not give his name began to discuss Plaintiff’s

 debt for her repossessed car before it was discovered he had the wrong person.
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         9.     Plaintiff got on the line and asked Defendant why he had not confirmed

 whether he was speaking to the right person and that he had embarrassed her by

 discussing her personal debt. Agent for the Defendant told Ms. Moulton that he did not

 have to confirm that he had the right “Nicole” and that she was just looking for a way to

 “worm out” of paying her bills.

         10.    Agent at no time during the call gave Plaintiff the Mini-Miranda.

         11.    Defendant’s agent demanded payment of $10,000.00, that was still due on

 Plaintiff’s car that was repossessed in November of 2008.

         12.      Plaintiff tried to explain that she did not have that kind of money, and

 could they work out a payment plan, agent asked her if she cared at all about her credit,

 because he was going to ruin it.

         13.      Plaintiff explained that she didn’t understand since she had gone her

 entire life without credit because she was new to this country. Defendant’s agent shot

 back, “Oh so you’re here illegally?”

         14.     Although, Plaintiff informed agent that she had the proper working

 papers to be in this country the Defendant went on to tell Ms. Moulton that if she did not

 pay her debt, that he was going to have her deported. Plaintiff became fearful and ended

 the call.

         15.     To date Plaintiff has never received any written correspondence from

 Defendant.

         16.     Defendant by and through their agents continue to call Plaintiff every

 day. Ms. Mouton does not answer any of the calls.
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         17.     The Defendant acted in a false, deceptive, misleading and unfair manner

 by threatening to take action that it did not intend to take for the purpose of coercing

 Plaintiff to pay the debt.

         18.     The Defendant acted in a false, deceptive, misleading and unfair manner

 when they engaged in conduct the natural consequence of which is to harass, oppress or

 abuse such person in connection with the collection of a debt.

         19.     The Defendant knew or should have known that their actions violated the

 FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

 their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

 to adequately review those actions to insure compliance with the law.

         20.     At all times pertinent hereto, Defendant was acting by and through its

 agents, servants and/or employees, who were acting with the scope and course of their

 employment and under the direct supervision and control of Defendant herein.

         21.     At all times pertinent hereto, the conduct of Defendant as well as its

 agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

 and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

         22.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

 including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage

 to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and

 anguish and pecuniary loss and he will continue to suffer same for an indefinite time in

 the future, all to his great detriment and loss.
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                                      COUNT I – FDCPA

         23.     The above paragraphs are hereby incorporated herein by reference.

         24.     At all times relevant hereto, Defendant was attempting to collect an

 alleged debt which was incurred by Plaintiff for personal, family or household purposes

 and is a “debt” as defined by 15 U.S.C. § 1692a(5).

         25.     The foregoing acts and omissions constitute violations of the FDCPA,

 including but not limited to, violations of §§ 1692b(1), b(2), c(a)(1), c(b), d, d(2), d(5),

 d(6), e, e(2), e(4), e(5), e(10), e(11), f and g.

         WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

 Defendant, Northstar Location Services, LLC for the following:

         a.      Declaratory judgment that Defendant’s conduct violated the FDCPA and

                 declaratory and injunctive relief for the Defendant’s violations of the state

                 Act;

         b.      Actual damages;

         c.      Statutory damages pursuant to 15 U.S.C. § 1692k;

         d.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

         e.      Such additional and further relief as may be appropriate or that the

                 interests of justice require.
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                                  V. JURY DEMAND

       Plaintiff hereby demands a jury trial as to all issues herein.



                                               Respectfully submitted,

                                               WARREN & VULLINGS, LLP

 Date: August 19, 2009                   BY:     /s/ Bruce K. Warren_
                                               Bruce K. Warren, Esquire

                                                  /s/ Brent F. Vullings_
                                               Brent F. Vullings, Esquire

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